    Case: 1:21-cv-00135 Document #: 513 Filed: 12/15/22 Page 1 of 5 PageID #:10470




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


                                            Civil Action File No.: 1:21-cv-00135
In re: Clearview AI, Inc., Consumer Privacy
Litigation                                  Judge Sharon Johnson Coleman

                                                      Magistrate Judge Maria Valdez




   LIMITED OBJECTIONS OF SCOTT R. DRURY TO PROPOSED ORDER ON
 RESPONSIBILITIES OF DESIGNATED COUNSEL AND PROPOSAL REGARDING
ALLOCATION OF FEES; AND REQUEST FOR CLARIFICATION OF THE COURT’S
                      NOVEMBER 23, 2022 ORDER

        Scott R. Drury (“Drury”), counsel for Plaintiffs Aaron Hurvitz, David Mutnick, Steven

Vance and Andrea Vestrand (collectively, the “Drury Clients”), submits the below-stated limited

objections and request for clarification to: (a) gain clarity on how the Court would like the parties

to address representation issues in the Proposed Order on Responsibilities of Designated Counsel

(the “Proposed Order”) and the Proposal Regarding Allocation of Fees (the “Fee Proposal”) and

future documents; and, relatedly, (b) obtain clarification of the Court’s November 23, 2022 Order

(the “Court’s Order”) with respect to appearances filed on behalf of the Drury Clients. 1

        1.     While Drury submits the foregoing limited objections, he believes it is important to

advise the Court of the significant progress the parties made in narrowing the disputed issues. To

achieve this result, lawyers from various different firms worked together to bridge as many

disputes as possible. Indeed, most of the substantive disputes – i.e., those related to fee allocation

and organizational structure – were resolved without having to present them to the Court. For



1
 Loevy & Loevy did not distribute the Proposed Order and Fee Proposal until the afternoon of December
14, 2022, severely compressing the time to resolve disputed issues.

                                                  1
    Case: 1:21-cv-00135 Document #: 513 Filed: 12/15/22 Page 2 of 5 PageID #:10471




instance, in an effort to “get to ‘yes,’” Drury made substantial compromise. He agreed to an

allocation of attorneys’ fees that does not reflect his contributions and value to the case, and agreed

to an organizational structure that does not include an executive committee or subcommittees

despite the benefits of such a structure. 2

        2.      The issue that remains relates to the Court’s Order clarifying that Loevy & Loevy

can remain in its position as interim lead counsel despite not representing any named plaintiff. See

Dkt. 504 at 4. During discussions between Drury and Jon Loevy (“Loevy”), Drury requested that

the Proposed Order and Fee Proposal clearly reflect that Loevy & Loevy is acting on behalf the

putative plaintiff classes and that the other attorneys/firms are acting on behalf of the named

plaintiffs. Loevy originally agreed to the request and even submitted a draft proposal containing

edits reflecting the agreement. After Drury submitted what he believed were final versions of the

Proposed Order and Fee Proposal that properly defined who the various firms represent, Loevy

informed Drury that he would no longer agree to the language.

        3.      At present, this case is merely a putative class action brought by individually-named

plaintiffs, none of whom are represented by Loevy & Loevy. Loevy & Loevy’s status as interim

lead counsel does not create an attorney-client relationship between the Drury Clients (or any

named plaintiffs) and Loevy & Loevy. See 6 Newberg and Rubenstein on Class Actions § 19:2

(6th ed.) (discussing attorney-client relationships in class actions both pre- and post-certification).

Indeed, if the case is never certified as a class action, the case would simply be one brought on

behalf of the named plaintiffs by their retained counsel, not Loevy & Loevy. See id.




2
 Out of an abundance of caution, Drury discloses to the Court that there are ongoing substantial disputes
between Drury and Loevy & Loevy (and others at Loevy & Loevy) related to unpaid compensation and
other issues.

                                                   2
     Case: 1:21-cv-00135 Document #: 513 Filed: 12/15/22 Page 3 of 5 PageID #:10472




          4.      Given the rather unique situation of Loevy & Loevy acting as interim lead counsel

without representing any named plaintiff, it is important that documents accurately reflect who

represents whom, and on whose behalf counsel are acting. Moreover, in order to preserve any

appellate issue that may exist, Drury could not agree to the submission of documents that indicate

that Loevy & Loevy represents named plaintiffs, as opposed to merely representing putative

plaintiff classes. See, e.g., Dkt. 512 at § 1 (discussing interim lead counsel’s duties on behalf of

“plaintiffs”).

          5.      To avoid this issue from repeating itself, Drury presents these limited objections

and respectfully suggests that the Court address the issue in a single ruling that guides the parties

on how to address the issue in future filings. Relatedly, because Loevy & Loevy attorneys currently

have appearances on file for Plaintiffs Hurvitz, Mutnick and Vestrand, 3 despite the fact that these

plaintiffs terminated Loevy & Loevy, Drury seeks clarification of the Court’s Order allowing

Loevy & Loevy attorneys to withdraw their motions to withdraw their appearances on behalf of

“Plaintiffs,” generically. See Dkt. 504 at 1-2; Dkt. 463-67. Drury respectfully submits that the

Loevy & Loevy attorneys should withdraw their specific appearances on behalf of Plaintiffs

Hurvitz, Mutnick and Vestrand (see Dkt. 3-5, 55, 86), while being allowed to appear in the case

on behalf of the putative plaintiff classes. See Dkt. 504 at 4.

          6.      Given that Loevy & Loevy does not represent any named plaintiff, in order to avoid

any confusion, documents filed by interim lead counsel should make clear that interim lead counsel

is acting on behalf of the “putative plaintiff classes.” Notably, because Loevy & Loevy is required

to act in the best interests of all putative class members (see Dkt. 504 at 3), including the named




3
    Loevy & Loevy has no appearance on file for Plaintiff Vance.

                                                     3
  Case: 1:21-cv-00135 Document #: 513 Filed: 12/15/22 Page 4 of 5 PageID #:10473




plaintiffs, requiring interim lead class to act on behalf the putative plaintiff classes will not

prejudice any plaintiff.

        7.      Shortly after the Court entered the November 23, 2022 Order, Drury informed

Loevy & Loevy of his intent to seek clarification with respect to the appearances described herein.

Drury sought Loevy & Loevy’s agreement to the requested clarification and proposed remedy.

Loevy & Loevy declined and asserted that it might try to replace the Drury Clients as named

plaintiffs if they would not agree to be represented by Loevy & Loevy. Loevy & Loevy seemingly

has backed off of that position, recognizing that it would be improper to act adversely to the

interests of its former clients.

        8.      It is important to note that the Drury Clients have actively participated in this

matter, including answering and responding to a total of almost 100 interrogatories and requests

for production and making themselves available to be deposed. The Drury Clients intend to

continue to participate and cooperate in the case. No valid reason exists to replace them.


Dated: December 15, 2022

                                             Respectfully submitted,

                                      By:    /s/ Scott R. Drury
                                             SCOTT R. DRURY
                                             Counsel for Plaintiffs Hurvitz, Mutnick,
                                             Vance and Vestrand
Scott R. Drury
DRURY LEGAL, LLC
6 Carriage Lane
Highwood, Illinois 60040
(312) 358-8225
scott@drurylegal.com




                                                 4
  Case: 1:21-cv-00135 Document #: 513 Filed: 12/15/22 Page 5 of 5 PageID #:10474




                              CERTIFICATE OF SERVICE

        I, Scott R. Drury, an attorney, hereby certify that, on December 15, 2022, I filed the
foregoing document using the Court’s CM/ECF system, which effected service on all counsel of
record.

                                                  /s/ Scott R. Drury
                                                  SCOTT R. DRURY
